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VIA- ECF                                                                                        E-mail:
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October 16, 2024

Honorable Eric Komitee
United States District Court
Eastern District of New York
225 Cadman Plaza East, Courtroom 6G North
Brooklyn, New York 11201

              Re:     LETTER MOTION – REQUEST FOR CONTINUANCE
                      Women of Color for Equal Just ic e et al. v. New York, et. al
                      Civil Action No: 22-cv-02234

Dear Judge Komitee:

On September 25, 2024, this Court dismissed Plaintiffs claims in the above referenced matter, except
for the Title VII and New York City Huma Rights Act Claims for individual claimant Amoura Bryan.
See ECF #99

On October 9, 2024, Defendants the City of New York and City of New York Department of
Education (Collectively “City”) filed a Motion to Reconsider requesting this Court to also dismiss
Ms. Bryan’s remaining claims. See ECF #100.

On October 10, 2024, this Court vacated the status conference hearing scheduled November 7, 2024
and orderd Plaintiff Bryan to file a Letter Responsive Motion to the City’s Motion to Reconsider.

Counsel hereby requests a 90 – day continuance for Ms. Bryan to respond to the City’s Motion to
Reconsider. Contemporaneously filed with this Letter requesting Continuance, Counsel has filed a
Motion to Withdraw as Counsel for Ms. Bryan as outlined in the Motion and supporting Declaration.
See ECF #102 Ms. Bryan will need time to secure new counsel. Attached hereto is Ms. Bryan’s
Notice of Claim the City has once again falsely represented that Plaintiffs have failed to file.

There are no other scheduled deadlines in this case.


  Respectfully Submitted,

 /s/ Jo Saint-George
 Jo Saint-George
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